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     Daniel Olsen, SBN 261645
 1
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 4   Dan@abrateandolsen.com
 5   Attorney for Stephani Torres
 6
 7                            UNITED STATES DISTRICT COURT
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                           Case No.: 2:18-cr-00179-MCE
10
                       Plaintiff,                        WAIVER OF DEFENDANT’S
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                                                         APPEARANCE
12            vs.
                                                         Judge: Hon. Morrison C. England Jr.
13   STEPHANIE TORRES
14
                       Defendant
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16
             Defendant STEPHANI TORRES hereby waives her right to be personally present in open
17
     court for the hearing of any status conference, motion or other proceeding in this case, except that
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     she will agree to be personally present for any plea, sentencing or jury trial, and she agrees to be
19
20   personally present in court when ordered by the court to be present.

21           Defendant STEPHANI TORRES hereby requests the court to proceed in her absence.
22   Defendant agrees that her interests will be deemed represented at all times by the presence of her
23
     undersigned attorney, the same as if she were personally present. Defendant further agrees to be
24
     present in court ready for trial on any date set by the court in her absence.
25
26           Defendant further acknowledges that she has been informed of her rights under the Speedy

27   Trial Act (Title 18 U.S.C. section 3161 – 3174), and she has authorized her undersigned attorney

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     to set times for hearings and to agree to delays under the provisions of the Speedy Trial Act without
 1
 2   being personally present.

 3           The original signed copy of this document will be kept in Mr. Olsen’s file.
 4
     Dated: February 11, 2019                              Respectfully submitted,
 5
 6                                                         /s/
                                                           By: STEPHANI TORRES
 7                                                         Defendant
 8   Dated: February 11, 2019
 9                                                         /s/Daniel Olsen      ___________
                                                           By: Daniel Olsen
10                                                         Attorney for Defendant
                                                           STEPHANI TORRES
11
12                                                ORDER

13
             IT IS SO ORDERED.
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     Dated: February 14, 2019
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